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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                 PADUCAH DIVISION

                                  ELECTRONICALLY FILED

CIVIL ACTION NO.: 5:19-CV-185-TBR

 CHRISTI BEARD                                                                          PLAINTIFF

 V.

 MORTGAGE MANAGEMENT, INC. and
 YASHU ANAND                                                                        DEFENDANTS

                                 STIPULATION OF DISMISSAL


       Upon agreement of the parties, pursuant to this Court’s Order [Doc. 16], and the Court

being otherwise sufficiently advised,

       IT IS HEREBY ORDERED that the action filed by the Plaintiff is dismissed, in its

entirety, with prejudice, with each party to be responsible for her or its own costs.
All deadlines and schedules terminated. This case is now closed.
        This is a final and appealable order, there being no just cause for delay.

       Entered this the _____ day of _______________, 2020.




                                                                June 3, 2020
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AGREED, TO BE ENTERED:


 /s/ J. Corey Asay ___________________       /s/ Kif H. Skidmore
 J. Corey Asay                               James D. Allen
 Adrian Mendiondo                            Kif H. Skidmore
 Morgan & Morgan, P.A.                       Stoll Keenon Ogden PLLC
 333 W. Vine Street, Suite 1200              300 West Vine Street, Suite 2100
 Lexington, KY 40507                         Lexington, KY 40507-1801
 Tel: (859) 286-8368                         Phone: (859) 231-3000
 Fax: (859) 286-8384                         Fax: (859) 253-1093
 E-mail:                                     E-mail:

 COUNSEL FOR PLAINTIFF                       COUNSEL FOR DEFENDANTS


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